
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-1306

                           CELSO RODRIGUEZ-CIRILO, ET AL.,

                               Plaintiffs - Appellants,

                                          v.

                               JUAN B. GARCIA, ET AL.,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. H ctor M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                         and DiClerico, Jr.,* District Judge.
                                              ______________

                                _____________________

               Kevin G. Little  with whom  Law Offices David  Efr n was  on
               _______________             ________________________
          brief for appellants.
               Eduardo  Rodr guez-Quilichini, Assistant  Solicitor General,
               _____________________________
          Department of  Justice,  with whom  Carlos  Lugo-Fiol,  Solicitor
                                              _________________
          General, and Edda Serrano-Blasini, Deputy Solicitor General, were
                       ____________________
          on brief for appellees.



                                 ____________________

                                     June 2, 1997
                                 ____________________
                              
          ____________________

          *  Of the District of New Hampshire, sitting by designation.














                    TORRUELLA, Chief Judge.   Plaintiffs-appellants are six
                    TORRUELLA, Chief Judge. 
                               ___________

          family members,  one of  whom, Celso  Rodr guez-Cirilo ("Celso"),

          was the victim of a stabbing.   Celso was stabbed by his brother,

          Francisco Rodr guez-Cirilo  ("Francisco"), who is not  a party to

          the suit.  The family members filed a civil rights damages action

          under 42 U.S.C.   1983 (1994) against two officers  of the Puerto

          Rico  Police Department  alleging that  the officers'  failure to

          enforce a temporary detention  order against Francisco caused the

          injury to Celso and thus violated his constitutional rights.1

                     The  district  court held  that  plaintiffs  failed to

          establish that a  due process right protected  under section 1983

          was  violated  by  the   officers'  failure  to  prevent  private

          violence,  and  also held  that  plaintiffs  could not  establish

          causation.  Having reviewed the record and the parties' briefs on

          appeal,  we  find  that the  district  court's  treatment  of the

          causation  issue correctly  identifies  a  sufficient ground  for

          granting summary judgment to the defendants.  We therefore do not

          reach  the nettlesome  legal  question of  whether,  in light  of

          DeShaney v. Winnebago County Dept. of Social Servs., 489 U.S. 189
          ________    _______________________________________

          (1989),  a police  officer's  knowing refusal  to  carry out  the

          express  terms  of a  non-discretionary  detention  order can  be

          deemed  an  "affirmative act"  that,  by increasing  the  risk of

          private harm to those  sought to be  protected by the order,  may

                              
          ____________________

          1  In view of the ambiguous wording of the plaintiffs' complaint,
          the district  court chose to treat this  section 1983 suit as one
          claiming  a  violation  of   due  process  under  the  Fourteenth
          Amendment.  On appeal, neither party suggests otherwise.

                                         -2-














          trigger due process  concerns.   Cf. DeShaney, 489  U.S. at  201;
                                           ___ ________

          Frances-Col n  v.  Ram rez,  107  F.3d 62,  64  (1st  Cir.  1997)
          _____________      _______

          (discussing the limited scope for relief under section 1983 where

          "the  government  employee, in  the  rare  and exceptional  case,

          affirmatively  acts  to  increase  the  threat  of  harm  to  the

          claimant");  Soto v. Flores, 103 F.3d 1056, 1064  (1st Cir. 1997)
                       ____    ______

          ("In a creation  of risk  situation, where the  ultimate harm  is

          caused  by a third party,  courts must be  careful to distinguish

          between conventional torts and constitutional violations.").

                                      BACKGROUND
                                      BACKGROUND

                      In  the  summary  judgment  context,  we  relate  all

          material  facts in genuine dispute in the light most favorable to

          the  party  resisting  summary  judgment,  here  the  plaintiffs.

          S nchez v. Alvarado, 101 F.3d  223, 225 n.1 (1st Cir. 1996).   On
          _______   _________

          March  16, 1994,  Jorge Rodr guez-Nieves  ("Jorge"), a  nephew of

          both Celso and Francisco who is not a party in  the instant suit,

          filed a petition  pursuant to  the Mental Health  Code of  Puerto

          Rico  ("Law 116"),2  to  have his  uncle Francisco  involuntarily

          detained for  psychiatric examination.  The  petition stated that

          Francisco  presented  a danger  to  himself  and others  and  had

          threatened to  kill with a sharp  object, such as a  machete or a

          knife.    On March  17, 1994,  a San  Juan municipal  court judge

          responded to the petition  by issuing an order that  Francisco be

          detained  for  examination.     The  temporary  detention   order

          authorizes a law  enforcement officer  to detain  the subject  --
                              
          ____________________

          2  See P.R. Laws Ann. tit. 24   6006 (Supp. 1991).
             ___

                                         -3-














          with  the assistance of health care personnel if necessary -- and

          to  take him  to  a  psychiatric  institution  where  he  can  be

          examined, and where he cannot be held for more than 24 hours.  If

          the  examining doctor  concludes  that detention  for any  longer

          period  or treatment of the subject is required, then that doctor

          must notify the petitioner, who must then notify the  court.  The

          temporary detention order under Law 116  does not explicitly give

          police officers any discretion with regard to enforcement.3

                      On the  same day  that the  order was  issued, Jorge,

          along with two of Francisco's siblings (but not Celso), went to a

          police station to have  the order enforced.  The  defendants were

          at  the  police station  and assumed  the  task of  enforcing the

          order, calling on paramedics for assistance.  Later that day, the

          defendant police  officers, the paramedics, and  the three family

          members  found Francisco  at  a local  establishment.   Francisco

          refused  to go  with the  officers, stating  that he  was already

          being  treated at a veteran's hospital.  The officers then failed

          to carry out the order, despite the efforts of the family members

          to convince the officers  that Francisco was dangerous.    Before

          departing,  the  officers  told  the  family  members  that  they

          themselves  should take  Francisco  to a  veteran's hospital  for

          treatment, which is  contrary to the  stated procedure under  Law

          116.


                              
          ____________________

          3  Defendants  appear to concede  the fact that carrying  out the
          terms of such a  Law 116 order is a  non-discretionary obligation
          on the part of the police officer.

                                         -4-














                      No further  legal steps were taken  to obtain another

          detention order, although the plaintiffs and other family members

          assert  that they made further informal requests to the police to

          take  Francisco into  custody.   Francisco  was ultimately  never

          taken to  a hospital for examination  or treatment.  On  April 6,

          1994, nearly three weeks  after the defendants' failure to  carry

          out the temporary detention order, the injury giving rise to this

          damages suit occurred.  Francisco stabbed his brother Celso while

          Celso was at their mother's house  for a visit.  Celso had argued

          with  Francisco about  getting their mother  some water  and then

          stood  out on a balcony;  a few minutes  later Francisco returned

          and stabbed  Celso in  the chest with  a knife.   Celso  suffered

          injuries to  his  chest  and to  his  respiratory  and  digestive

          systems.

                      Plaintiffs  brought actions  for  damages under  both

          section 1983 and Puerto Rico tort provisions.  The district court

          granted summary judgment  to defendants on the section  1983 suit

          and dismissed the state tort claims without prejudice.

                                      DISCUSSION
                                      DISCUSSION

                      We review  the  district  court's  grant  of  summary

          judgment de novo.  Serrano-Cruz v. DFI Puerto Rico, Inc., No. 96-
                   __ ____   ____________    _____________________

          1418, 1997 WL 114118, at *2, --- F.3d --- (1st Cir. 1997).  

                      The essential elements of  a claim under section 1983

          are:  First, that  the defendants acted under color of state law;

          and  second,  that the  defendants'  conduct worked  a  denial of

          rights secured by the  Constitution or by federal law.   Mart nez
                                                                   ________


                                         -5-














          v.  Col n, 54  F.3d 980,  984 (1st  Cir. 1995).   To  satisfy the
              _____

          second element, plaintiffs must show that the defendants' conduct

          was the cause in fact of the alleged deprivation.  See Guti rrez-
                                                             ___ __________

          Rodr guez v. Cartagena, 882  F.2d 553, 559 (1st Cir.  1989).  The
          _________    _________

          issue of  causation of damages in a section 1983 suit is based on

          basic  notions of  tort  causation.   See  Maldonado Santiago  v.
                                                ___  __________________

          Vel squez Garc a, 821  F.2d 822,  831 (1st  Cir. 1987)  ("Section
          ________________

          1983  imposes a causation requirement similar to that of ordinary

          tort  law.").   In applying  basic tort  principles to  the facts

          raised  by  a  particular   section  1983  claim,  the  causation

          requirement may be fleshed  out with reference to state  law tort

          principles.   Guti rrez-Rodr guez, 882 F.2d at 561.
                        ___________________

                      As discussed in the decision below, plaintiffs cannot

          establish  that the conduct  of the defendants,  in not enforcing

          the temporary detention order,  was the legal cause of  an attack

          occurring much later.   See  Rodr guez-Cirilo v.  Garc a, 908  F.
                                  ___  ________________     ______

          Supp. 85, 91 (D.P.R.  1995).  The concept of  proximate causation

          restricts tort  liability to those whose  conduct, beyond falling

          within  the infinite  causal  web leading  to  an injury,  was  a

          legally  significant cause.  The  passage of  time can  certainly

          reduce the  legal significance of a  particular contributing act.

          See Restatement (Second) of Torts    433 (1965) (lapse of  time a
          ___ _____________________________

          factor  to be  considered in  determining whether  a contributing

          factor is substantial).  

                      The  remoteness  in time  of  the harm  in  this case

          precludes a  finding of proximate causation.   Although Francisco


                                         -6-














          committed  the kind of violence  mentioned in the  petition for a

          detention  order, the space of  over two weeks  that passed after

          the  officers' failure  to  detain Francisco,  during which  time

          family members did not attempt to obtain another detention order,

          renders  his later act of violence too remote to impose liability

          on  the officers.  Cf. Mart nez  v. California, 444 U.S. 277, 285
                             ___ ________     __________

          (1980)  (murder committed  by parolee  five months  after release

          "too  remote" a  consequence to  hold  parole board  liable under

          section  1983);  Restatement  (Second)  of Torts     433  (1965).
                           _______________________________

          Although  the stabbing  occurred  at  the  address named  in  the

          original petition, and although the  police officers may have had

          some indication that  Celso would be at danger  from an attack by

          Francisco,4 given  the intervening  time we  cannot say that  the

          officers' failure to enforce the order was the legal cause of the

          injury.  See Mart nez,  444 U.S. at 285; Restatement  (Second) of
                   ___ ________                    ________________________

          Torts    433  cmt. f  ("Experience has  shown that  when a  great
          _____

          length of  time has  elapsed between the  actor's negligence  and

          harm  to another, a great number of contributing factors may have

          operated,  many of which may be difficult or impossible of actual



                              
          ____________________

          4   It is a widely recognized tort law principle that one  may be
          responsible  for  the  foreseeable  intervening  acts  of   third
          parties.   For example, the requirement  of "causalidad adecuada"
          under  Puerto  Rico  tort  law  would  permit  the  assignment of
          liability  if the  intervening  third party  action  -- that  is,
          Francisco's stabbing  -- was a reasonably foreseeable consequence
          of the defendants' actions.  Widow of Andino v. Puerto Rico Water
                                       _______________    _________________
          Resources  Auth., 93 P.R.R. 168, 177-79  (P.R. 1966) (harm caused
          ________________
          by  reasonably  foreseeable  intervening  causes,  including  the
          actions of third parties, may lead to liability).

                                         -7-














          proof.  . . . [T]he effect of  the actor's conduct may thus be so

          attenuated as to be insignificant . . . .").

                      What further persuades us that the causation issue in

          this case is dispositive is that even if Francisco had been taken

          to a hospital on March 17, 1994, for examination, appellants have

          not  shown that an examination  performed on that  day would have

          prevented the violent attack, spurred by an argument, on April 6,

          1996.  The  temporary detention  period was itself  limited to  a

          maximum of  twenty-four hours.   Appellants offered  no competent

          evidence that could have supported a finding that an  examination

          in  Francisco's particular  case would  have prevented  the later

          attack.   Appellants  rely  on a  clinical psychologist's  signed

          statement  asserting  that  Francisco's   "personality  disorder"

          caused  the stabbing, and  that, had  Francisco been  detained on

          March 17, 1994, he  would have received effective treatment  that

          would have prevented the stabbing.   This statement, based solely

          on  information collected through  conversations with Francisco's

          relations  and formed  without any  direct examination  of either

          Francisco  or of  his medical  records, is  not enough  to defeat

          defendants' motion  for summary  judgment and  does not  create a

          triable  issue of material fact as to causation.5  "The nonmoving

          party must  establish a trial-worthy issue  by presenting 'enough

                              
          ____________________

          5  This statement, as the district court notes, would probably be
          found unreliable and inadmissible  as expert testimony under Fed.
          R. Evid. 702.  Garc a, 908 F. Supp. at  91-92.  In any event, the
                         ______
          psychologist's  broad  assertion  regarding  causation  does  not
          create a triable issue  in this case, where the  defendant's case
          as to a lack of proximate causation is strong.

                                         -8-














          competent evidence to enable a finding favorable to the nonmoving

          party.'"   LeBlanc v.  Great Am. Ins.  Co., 6 F.3d  836, 842 (1st
                     _______     ___________________

          Cir. 1993)  (quoting Anderson v.  Liberty Lobby,  Inc., 477  U.S.
                               ________     ____________________

          242, 249 (1986)).  Thus,   not  only   do  appellants   run  into

          proximate  causation problems,  but their  case also  falls short

          with regard to demonstrating  the "but for" aspect of  causation.

          See  Restatement (Second) of Torts,    432 (1965).   We conclude,
          ___  _____________________________

          therefore, that defendants were properly granted summary judgment

          based on plaintiffs' failure to demonstrate causation under well-

          established tort principles.  

                    Appellants'  remaining  arguments  on  appeal   do  not

          require lengthy  treatment.    First,  we note  that  the  record

          indicates that the  appellants have failed  to support, with  any

          competent evidence, their additional assertion that there existed

          a  conspiracy between  the  defendants and  Francisco to  violate

          plaintiffs'  civil rights.   Second,  in response  to appellants'

          claim  that the district  court abused its  discretion in denying

          them an opportunity  to amend their complaint  after the deadline

          for such amendments established  in the court's scheduling order,

          we note that  even had the  plaintiffs been able  to amend  their

          complaint  by adding as a  third defendant the  supervisor of the

          two  defendant police  officers, the  fundamental, insurmountable

          obstacle of causation would still have remained,  and would still

          have offered a sufficient ground for summary judgment in favor of

          defendants.

                                      CONCLUSION
                                      CONCLUSION


                                         -9-














                      For the foregoing reasons  the district court's grant

          of summary judgment to defendants is affirmed. 
                                               ________







                                                        Concurrence Follows










































                                         -10-














                    CAMPBELL, Senior  Circuit Judge (Concurring).   I write
                    CAMPBELL, Senior  Circuit Judge (Concurring)
                              __________________________________

          separately because  I believe that there  was sufficient evidence

          of causation  to allow the issue to  go to the jury.   However, I

          concur  with the  majority's result  because I  do not  think the

          police  officers'   conduct  constituted  a   violation  of   the

          plaintiffs' constitutional due process rights.



                                    I.  Causation
                                    I.  Causation

                    I think the record indicates the existence of a factual

          issue  as  to  causation,  precluding  the  granting  of  summary

          judgment in favor  of Defendants on the  ground of an absence  of

          causation.  See  Ahern v. O'Donnell, 109 F.3d  809, 811 (1st Cir.
                      ___  _____    _________

          1997)  (all inferences to be made in  favor of party against whom

          summary judgment sought).

                    Causation  depends upon  whether,  assuming the  police

          officers violated    1983  on March  17 by  not carrying  out the

          court order  directing them  to take Francisco  into custody  for

          psychiatric examination, there was a sufficient causal connection

          between  the  officers' default  and  Francisco's  stabbing of  a

          relative two weeks later.

                    Causation  in tort  law is  generally divided  into two

          concepts:  causation  in fact, or actual causation, and proximate

          or legal  causation.  See W. Page Keeton et al., Prosser &amp; Keeton
                                ___                        ________________

          on  Torts     41-42 (5th  ed.  1984).   The terms  for these  two
          _________

          concepts are sometimes confused,  as are the concepts themselves.

          Regardless of  the terminology, however, there  are two questions


                                         -11-














          that  must  be answered  to  determine if  a  defendant's conduct

          "caused" a  plaintiff's injury.   The  first question  is whether

          there was  in fact some  causal relationship between  the conduct

          and  the outcome.  The Restatement expresses this test as whether
                                 ___________

          the defendant's  conduct was a "substantial  factor" in producing

          the harm.  Id.  The second question is  whether the circumstances
                     ___

          and  causal  relationship  are  such  that the  law  will  impose

          liability on the  defendant.   Sometimes this is  expressed as  a

          foreseeability  test, see  Keeton,  supra,    42,  at 273.    Cf.
                                ___           _____                     ___

          Restatement  (Second)  of  Torts,      431(b)  (1965)  (different
          ________________________________

          terminology).

                    Regarding the second  issue, foreseeability, that prong

          is  plainly satisfied here.   A foreseeable result  of the police

          officers'  failure  to take  Francisco  to  the psychiatrist  for

          examination,  as ordered  by the  court, was  that he  would harm

          someone,  since  the  express  basis  of   the  court  order  was

          Francisco's  potential dangerousness  and likely  eligibility for

          involuntary commitment in  a mental health facility.   The reason

          for  the  ordered  psychiatric  examination,  as  Puerto   Rico's

          statute specifically  provides, infra, is to  determine whether a
                                          _____

          person believed to  be dangerous  is dangerous, and  needs to  be
                                            __

          committed  immediately  in  order  to  avoid  the  kind  of  harm

          Francisco later caused.  While under the  preliminary court order

          in issue  Francisco could only be detained for twenty-four hours,

          the  order directed  that he  be psychiatrically  examined during

          that period and that,  within the twenty-four hours, a  report of
                                 ____________________________


                                         -12-














          his condition be sent to the judge and proper steps be  initiated

          for his  involuntary admittance should  that be indicated.   Thus
                   ___________

          the harm that occurred  here was clearly a foreseeable  result of

          interrupting  the protective  process begun  by the  petition and

          order.

                    Since the harm that  occurred was foreseeable, the only

          remaining  question  is  that  of  actual  cause,  i.e.,  whether
                                             ______

          Francisco's  later  assault  with  a knife  was  actually  linked

          causally in sufficient  degree to the police's  failure to detain

          Francisco  for the  ordered psychiatric  examination.   I believe

          that on this record a  factual issue is raised as to  whether the

          police officers' failure to comply with the court order to detain

          Francisco  was a "substantial factor"  in bringing about the harm

          from Francisco's later stabbing of Celso.6 

                    The  order the  police failed  to carry out  was issued

          under a  comprehensive statutory  scheme for the  examination and

          involuntary commitment  to a  mental health facility  of mentally

          ill  people who  are dangerous to  themselves or others.   In the

          first  step of this process,  any person who  fears an individual

          may be psychologically unstable may  bring that individual to the

          attention of  a Puerto  Rico court.   P.R. Laws  Ann. tit.  24,  
                              
          ____________________

          6  Although the majority discusses the Restatement's "substantial
                                                 ___________
          factor" test under the  rubric of proximate causation, Rodr guez-
                                                                 __________
          Cirilo  v. Garc a, ___ F.3d ___, No.  96-1306, slip op. at 6 (1st
          ______     ______
          Cir. May ___, 1997),  it is perhaps more accurately  described as
          referring to actual  causation.  See Keeton, supra,    42, at 278
                                           ___         _____
          ("[T]he  1948   revision   of  the   Restatement  limited   [the]
          application [of the "substantial factor" test] very definitely to
          cause in fact alone.")  (citing, inter alia, Restatement (Second)
                                           __________  ____________________
          of Torts   433 (1965)).
          ________

                                         -13-














          6006.  This occurred  here when a relative, Mr.  Jorge Rodr guez-

          Nieves,  filed a petition to the Puerto Rico court declaring that

          Francisco  was  believed  dangerous,  having threatened  to  kill

          someone with a sharp  object such as a  machete or a knife.   The

          petition also  stated  that Francisco  had previously  been in  a

          recognized mental institution.

                    The second step spelled out in  the Puerto Rico statute

          is for a judge to decide, preliminarily, whether or not there are

          "reasonable grounds  to believe  that the  patient is  subject to

          involuntary admission and needs immediate hospitalization to keep
          ___________

          him  from  harming himself,  other  persons  or property."    Id.
                                                                        ___

          (emphasis supplied).   The judge expressly  found such reasonable

          grounds here and issued  a written order that Francisco was to be

          detained for twenty-four hours and examined by  a psychiatrist to

          determine "if he should be admitted immediately and involuntarily

          to the psychiatric  institution," as the  statute provided.   The

          order  directed that  an explanatory  report  be returned  to the

          judge  within   the  twenty-four   hours  and  a   resolution  of

          provisional   admittance  prepared   in   the   event   continued

          hospitalization was required.  It  was the court order containing

          the above  provisions that the  police allegedly failed  to carry

          out,  with  the result  that Francisco  was  never examined  by a

          psychiatrist  and  the  necessary   steps  never  taken  for  his

          involuntary hospitalization should that have  been recommended by

          the psychiatrist.




                                         -14-














                    If Francisco  had been  examined, the  psychiatrist was

          under a duty, as the order and Puerto Rico law provide, to report

          his   findings  concerning   Francisco's  mental   condition  and

          potential dangerousness  back  to the  court  within  twenty-four

          hours.   If  the court  had then  found by  clear and  convincing

          evidence, see P.R. Laws Ann. tit. 24,   6089,  that Francisco was
                    ___

          "subject to involuntary admission,"  the court would have ordered

          him confined  to a mental health  facility.  P.R. Laws  Ann. tit.

          24,    6090.  The statute  provides that a person  is "subject to

          involuntary admission" if he  is mentally ill and if,  because of

          his illness, he "may reasonably  be expected to physically injure

          himself or any other person, or damage property."  P.R. Laws Ann.

          tit. 24,   4002(14)(a).  

                    It  is important to  emphasize that  the order  here in

          question  did not merely provide for a twenty-four hour period of

          detention.    Rather  it  was  based  on  a  judge's  finding  of

          reasonable  cause to believe  that Francisco was  a candidate for

          involuntary  admission,  i.e.  confinement,  in  a mental  health

          facility.  The twenty-four hours' detention was merely the period

          within which he was to be evaluated, after which, if  the initial

          finding was confirmed, he would be involuntarily committed  for a

          more extended period.  Under Puerto Rico law, a court's order for

          involuntary  admission is limited,  in the  first instance,  to a

          term of  thirty days,  but it  can be  followed by an  additional

          thirty-day order.    P.R. Laws  Ann. tit.  24,    6094(a).   This

          second thirty-day  period may then be  supplemented by additional


                                         -15-














          periods  of 180  days as  long  as the  patient "continues  to be

          subject to involuntary  admission."   P.R. Laws Ann.  tit. 24,   

          6094(b).  So in effect, once involuntarily admitted, a person may

          be  forced  to  remain  confined  in  a  mental  health  facility

          indefinitely if he  remains a  danger to himself,  others, or  to

          property because of a mental illness.

                    I  believe the  evidence  here plainly  creates a  jury

          issue  as to whether Francisco would likely have been confined to

          a  mental  health facility  for a  sufficient  period of  time to

          render him  unable to  stab Celso  when he  did,  had the  police

          complied with the  court order  to detain him  for a  psychiatric

          examination.  A jury could find that the police officers' failure

          to  enforce the order was  a "substantial factor"  in the ensuing

          harm.

                    As  noted,   there  is  evidence  that   Francisco  had

          threatened to  kill with a sharp  object, such as a  machete or a

          knife, a threat followed by stabbing his brother two weeks later.

          The record also  indicates his prior hospitalization  in a mental

          facility, giving  rise to an inference that  his behavior stemmed

          from an  underlying mental  condition.  Even  more significantly,

          the  record   shows  a   judicial  determination,  reciting   the

          consideration  of evidence,  that "the  Court finds  a reasonable

          basis  to  believe  that  [Francisco]   may  be  subject  to   an

          involuntary  admission treatment  and  hospitalization under  the

          provisions of the  Puerto Rico Mental  Health Code."   Underlying

          that  determination  necessarily  lay  a  finding  of  reasonable


                                         -16-














          grounds  to  believe that  Francisco  might  harm himself,  other

          persons or property.  See P.R. Laws Ann. tit. 24,   6006.  
                                ___

                    The  above facts  more  than suffice,  in  my view,  to

          demonstrate  a triable issue over  whether, if the defendants had

          done  their duty and  brought Francisco  to the  psychiatrist for

          examination,  the latter  would more  likely than not  have found

          that  Francisco was  mentally ill and  a danger to  himself or to

          others and  recommended committing  him involuntarily.   Had that

          recommendation been  made, it  could also be  reasonably inferred

          that  the Puerto Rico court would have implemented it pursuant to

          the statutory  authority  described above,  and  that  Francisco,

          being confined, would not have been able to stab Celso two  weeks

          later.   Hence, I believe there is  adequate evidence to create a

          factual issue for later trial  over whether the police  officers'

          default was a "substantial factor" in causing Celso's stabbing.7

                    The majority argues that  no reasonable jury could find

          that the  police  officers' failure  to  bring Francisco  to  the

          psychiatrist actually  caused Celso's  injuries.  They  point out

          that two weeks  elapsed between the  police officers' failure  to

                              
          ____________________

          7  My colleagues' error, as I see it, is in treating causation as
          a  matter for their own determination now rather than recognizing
          that,  on  summary  judgment,  the question  is  simply  whether,
          viewing everything  most favorably to (here)  the plaintiffs, the
          record indicates a disputed issue of fact.  I do not see how, for
          that purpose, one can  ignore the finding, similar to  a probable
          cause finding,  of a Puerto  Rico judge, coupled  with undisputed
          facts  strongly  indicating  that  Francisco  was  both  mentally
          unbalanced  and   dangerous  to   others      the   criteria  for
          involuntary admission.  From these facts a reasonable  jury could
          infer  that he would likely have been committed for several weeks
          or more, thus preventing any attack on Celso.

                                         -17-














          detain Francisco and  the stabbing.  They also  insist that it is

          too speculative, on this record,  to know whether Francisco would

          have  been confined or  treated so as  not to  have injured Celso

          when he did.

                    The time factor is hardly significant here.   Two weeks

          is  not a lengthy interval for  present purposes; it is less than

          the  thirty days which the court could have initially ordered him

          confined had the court determined, after psychiatric examination,

          that he was dangerous.  "[W]here it is evident that the influence

          of  the actor's  negligence is still  a substantial  factor, mere

          lapse of time, no  matter how long, is not sufficient  to prevent

          it from being the legal cause of the other's harm."   Restatement
                                                                ___________

          (Second)  of Torts,   433(c) cmt. f  (1965).  The damage from the
          __________________

          collapse of a defective bridge is no less caused by the builder's

          negligence   even  though   occurring  months   or  years   after

          construction.

                    As  for the argument that it is too speculative whether

          Francisco would have been confined,  I think, for reasons already

          discussed,  that  the present  record  is sufficient  to  raise a

          factual issue concerning his likely commitment that makes summary

          judgment  inappropriate.   The  evidence  of  Francisco's  mental

          instability and  dangerousness is uncontested making  it probable

          that  he would have  been committed.   The Puerto Rico  judge had

          already  found   that  Francisco  was  a   likely  candidate  for

          involuntary commitment     a preliminary finding, to be sure, but




                                         -18-














          indicative of a factual issue in that judge's mind as to the need

          to commit him.

                    There is, in addition,  the affidavit of a psychologist

          which, if  accepted,  would  lend even  further  support  to  the

          probability of  his commitment.   Unfortunately, as  the district

          court and  my colleagues note,  the affidavit is  poorly drafted.

          The   affidavit  says   only  that   it  is   the  psychologist's

          "understanding"   that  Francisco   has  a   serious  personality

          disorder.  It does say, however, that the psychologist is "of the

          opinion that Mr. Francisco  Rodr guez-Cirilo's being  temporarily

          detained  on March 17, 1994  for the purpose  [of] an examination

          and evaluation of his  mental condition . . . would have resulted

          in Francisco Rodr guez-Cirilo's  receipt of timely  and effective

          psychological and/or psychiatric treatment,  most likely on an in
                                                       ____________________

          patient  basis  over  an  extended  period  of  time,"  (emphasis
          ____________________________________________________

          supplied)  and expresses  the opinion  that such  treatment would

          have prevented Francisco's later stabbing of Cirilo.

                    Given,  in  any  case,  the  other uncontested  factual

          evidence   mentioned   above   plainly   indicating   Francisco's

          abnormality  and dangerousness,  I  cannot doubt  that a  factual
                                                                 __________

          issue exists over whether Francisco would have been confined and,
          ____________

          if  so, rendered unable to have committed the assault in dispute.

          The very finding by  the Puerto Rico court of  reasonable grounds

          to believe  that Francisco was subject  to involuntary commitment

          suggests the existence of such a triable issue.  The existence of

          such an issue is the only question  at the present stage.  We are
                               ____


                                         -19-














          not  now  acting  as factfinders.    Summary  judgment  is not  a

          substitute  for trial.  The credible evidence here all shows that

          Francisco  was  suffering from  mental  instability,  having been

          previously  hospitalized and  having  uttered  credible  threats,

          later  carried out,  to  stab  someone  to  death.    Hence  even

          excluding the  affidavit, the record provides a factual basis for

          a  finding   that,  if   detained  as  ordered   for  psychiatric

          examination,  Francisco would,  more likely  than not,  have been

          involuntarily  admitted  to  a mental  health  facility,  thereby

          preventing the  later stabbing.  The police  officers' failure to

          detain  Francisco could thus reasonably  be found to  have been a

          "substantial factor" in producing Celso's injuries.  



                              II.  The Due Process Claim
                              II.  The Due Process Claim

                    Despite my disagreement with the majority on causation,

          I concur in the result because, like the district court, I do not

          believe  that the plaintiffs have  stated a violation  of the Due

          Process Clause of the federal constitution.8 

                    Plaintiffs' due process claim does not rest, of course,

          on any contention  that the police  or other agents of  the state

          attacked  or physically  harmed Celso.   This  case is  not about

          violence  committed by agents of  the state.  Rather, Plaintiffs'

          claim  concerns  the  all  too common  situation  where  violence

          inflicted  by a  third party  might have  been prevented  had the
                              
          ____________________

          8   The  Fourteenth  Amendment states,  in relevant  part, "[N]or
          shall any State deprive any person of life, liberty, or property,
          without due process of law . . . ."

                                         -20-














          police or  other public  officials  acted more  diligently.   But

          while police default may  be found to have  caused Celso to  lose

          the  protection of a state statutory scheme designed to guard the

          public against people having Francisco's potential  for violence,

          this   unfortunate  failure   does   not  violate   the   federal

          constitution.  As the Supreme Court wrote:

                         But nothing in the language of the Due
                      Process Clause itself requires  the State
                      to   protect   the  life,   liberty,  and
                      property of its citizens against invasion
                      by private actors.  The Clause is phrased
                      as a limitation  on the State's  power to
                      act,   not  as  a  guarantee  of  certain
                      minimal  levels  of safety  and security.
                      It  forbids the  State itself  to deprive
                      individuals of life, liberty, or property
                      without  "due process  of  law," but  its
                      language  cannot  fairly  be extended  to
                      impose an affirmative  obligation on  the
                      State to  ensure that those  interests do
                      not come to harm through other means.

          DeShaney v. Winnebago County Dep't. of Soc. Servs., 489 U.S. 189,
          ________    ______________________________________

          195 (1989).  See also Estate of Gilmore v. Buckley,  787 F.2d 714
                       ________ _________________    _______

          (1st Cir.)  (holding that a  county was not liable  under the Due

          Process Clause  for the  death of  a woman murdered  by a  prison

          inmate while he was on a furlough release, even though the county

          had reason to know that the victim was in special danger from the

          murderer), cert. denied, 479 U.S. 882 (1986).
                     ____________

                    Nor does the  fact that the  police violated the  plain

          order of a Puerto Rico court to detain Francisco and bring him to

          a  psychiatrist  for examination  change  the  analysis.   Police

          officers  certainly have a  duty to obey  court orders.   But the

          court did not, in  ordering Francisco's detention, thereby create


                                         -21-














          the sort of "special  relationship" between the state and  all of

          Francisco's potential  victims that  might make the  state liable

          for any  harm  that came  to  them  at Francisco's  hands.    See
                                                                        ___

          generally DeShaney, 489 U.S.  at 198-203 (discussing the "special
          _________ ________

          relationship"  test).  Neither  did the  state render  Celso more

          vulnerable to the danger posed by Francisco.  See id. at 201.  By
                                                        ___ ___

          failing  to detain  him  for examination,  the defendants  merely

          failed  to reduce a  danger    not  of the state's  own making   

          that Francisco's violent proclivities already created. 

                    The  police  officers  in  this  case  may  have  acted

          improperly.  Faced with  a court order to detain  Francisco, they

          should not  have substituted their  judgment for the  court's and

          refused to  detain him  in violation  of the  court's order.   As

          discussed above, a jury could reasonably find that their wrongful

          failure  to enforce the court's order was a substantial factor in

          causing  Celso's  injury  by  Francisco.    Their  default  might

          constitute a tort under  state law.  See Restatement  (Second) of
                                               ___ ________________________

          Torts   323  (1965) (stating  that one who  undertakes to  render
          _____

          services to  another may  be liable for  performing negligently).

          But  "the   Due  Process  Clause  of   the  Fourteenth  Amendment

          . . . does not  transform every tort  committed by a  state actor

          into a constitutional violation."  DeShaney, 489 U.S. at 202.  If
                                             ________

          the  defendants' conduct  here violated  the Due  Process Clause,

          then many  everyday defaults  of police, firefighters,  and other

          public  officials around  the nation  would likewise  violate the

          Constitution  on a  similar theory.   It  will be  unfortunate, I


                                         -22-














          believe, if,  instead of relying on state  legislatures and state

          courts  to provide legal means to redress matters of this nature,

          federal courts  transform conduct that  is at most  tortious into

          constitutional causes of action.

                    I  would  affirm the  decision  of  the district  court

          because  the plaintiffs have no  cause of action  under 42 U.S.C.

            1983 and the Due Process Clause.

            






































                                         -23-









